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 1 HUESTON HENNIGAN LLP
   John C. Hueston, State Bar No. 164921
 2
   jhueston@hueston.com
 3 Moez M. Kaba, State Bar No. 257456
   mkaba@hueston.com
 4
   Michael H. Todisco, State Bar No. 315814
 5 mtodisco@hueston.com
   523 West 6th Street, Suite 400
 6
   Los Angeles, CA 90014
 7 Telephone: (213) 788-4340
   Facsimile: (888) 775-0898
 8
 9 Attorneys for Plaintiff DON LEE FARMS,
   a division of Goodman Food Products, Inc.
10
11
12                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
13
14 DON LEE FARMS, a division of               Case No. 2:22-cv-3751
15 Goodman Food Products, Inc.,
                                              PLAINTIFF DON LEE FARMS’
16                Plaintiff,                  COMPLAINT FOR:
17                                            1. VIOLATION OF THE LANHAM
            vs.                               ACT;
18
19 BEYOND MEAT, INC., a Delaware              2. FALSE ADVERTISING IN
   Corporation,; and ETHAN BROWN, an          VIOLATION OF CAL. BUS. & PROF.
20 individual,                                CODE §§ 17500 ET SEQ; and
21                                            3. UNFAIR COMPETITION IN
               Defendants.                    VIOLATION OF CAL. BUS. & PROF.
22
                                              CODE §§ 17200 ET SEQ.
23                                            DEMAND FOR JURY TRIAL
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 1          Plaintiff Don Lee Farms (“DLF”) brings this action against Defendants
 2 Beyond Meat, Inc. (“Beyond Meat” or “Beyond”) and Ethan Brown (“Brown”).
 3 DLF alleges as follows:
 4                                NATURE OF THE CASE
 5          1.    “Something is really wrong at Beyond Meat.”1
 6          2.    Beyond Meat’s problems are many, but they trace to one root cause: the
 7 company’s tendency to “over-promise and under-deliver,” then scramble for
 8 excuses.2 With the company reeling due to operational failures, CEO Ethan Brown
 9 has offered up “excuses” described as “laughable” and that industry insiders pan as
10 “difficult to take . . . seriously” and as flunking “the smell test.”3 Others have
11 noticed Brown’s habit of “point[ing] the finger” at everyone but himself, describing
12 Brown as having “an appetite for excuses.”4
13          3.    But there are no excuses for the conduct revealed below. The
14 indisputable science now shows that Beyond Meat was built on and has grown
15 because of deception and lies: (1) that Beyond’s plant-based products provide “equal
16
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      1
23     Sergei Klebnikov, FORBES, ‘Something Is Really Wrong’ At Beyond Meat,
      According To This Investor (Oct. 22, 2021) (internal quotation marks omitted).
24    2
    Deena Shanker, BLOOMBERG, Beyond Meat’s Delayed Chicken Launch Raises
25 Growth Questions (Nov. 17, 2021).
      3
26      Joe Berkowitz, FAST COMPANY, Some of Beyond Meat’s excuses for its stock
      troubles are laughable (Nov. 11, 2021).
27
      4
    David Moadel, MOTLEY FOOL, Beyond Meat Needs to Deliver, Not Just Explain
28 (Mar. 9, 2022).
                                           -2-
                           PLAINTIFF DON LEE FARMS’ COMPLAINT
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 1 or superior protein” as compared to real meat;5 and (2) that its products are free from
 2 “synthetic” ingredients.6
 3            4.    Both of these claims are central to Beyond’s pitch to customers,
 4 business partners, retailers, and investors—and both claims are demonstrably false.
 5            5.    First, Beyond Meat grossly overstates the protein in its products. To
 6 entice customers, Beyond Meat claims its proteins are equal to or better than the
 7 proteins found in meat7 and labels its products with correspondingly high daily
 8 protein values. But as revealed by rigorous product testing of Beyond Meat’s
 9 products, Beyond Meat’s claims are false. Using the globally recognized “corrected”
10 protein-testing method—which accounts for the quality (or lack of quality) of the
11 protein in a product—the daily protein value on Beyond Meat’s flagship products is
12 overstated by up to 30%:
13                                              Table 1
14        BYND Product      %DV (as labelled)    %DV (as tested)        Overstated%
15        Beefy Crumbles    26%                  20.0%                       30%
16        Beyond Burger     40%                  35.49%                    12.71%
17
18            6.    Unlike Beyond Meat’s unsupported marketing claims, the above testing
19 results are backed by hard science and data. Indeed, the testing attached to this
20 complaint was conducted by an internationally accredited laboratory that followed
21
22    5
     Beyond Meat, Is Meat Production An Efficient Use of Resources? (Mar. 8, 2021),
23 https://www.beyondmeat.com/en-US/whats-new/is-meat-production-an-efficient-
   use-of-resources.
24
   6
     Anna Starostinetskaya, VEGNEWS, Octavia Spencer Stars in Beyond Meat’s First
25 Television Commercial (Aug. 3, 2020), https://vegnews.com/2020/8/octavia-spencer-
26 stars-in-beyond-meat-s-first-television-commercial.
      7
27  E.g., Beyond Meat, Is Meat Production An Efficient Use of Resources? (Mar. 8,
   2021), https://www.beyondmeat.com/en-US/whats-new/is-meat-production-an-
28 efficient-use-of-resources.
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 1 rigorous testing methods. (Element Laboratory Analytical Report, May 12, 2022
 2 (hereinafter “Element Report”) (attached as Exhibit A).)
 3          7.    The upshot: Beyond Meat has falsely advertised its products and has
 4 caused misbranded goods to be sold throughout the supply chain. The misbranded
 5 goods tested for purposes of this complaint were purchased from well-known
 6 retailers nationwide, including Walmart, Publix, Albertsons, Safeway, and Ralphs.
 7          8.    Beyond Meat’s overstatement of its protein is material. Beyond Meat’s
 8 website makes representations that its products “offer protein levels greater than or
 9 equal to their animal-based counterparts.”8 Further, Beyond Meat points to
10 “protein” as the defining characteristic of the company and its products. Beyond
11 Meat purports to be “the global protein company of the future.”9 It describes its
12 products as “plant-based protein” and “alternative protein” options.10 It even
13 trademarked the phrase “The Future of Protein.”11 And Beyond Meat’s S-1
14 registration statement—where it disclosed all essential information about the
15
16
17
18
19    8
    Beyond Meat, Frequently Asked Questions (last visited June 1, 2022),
20 https://www.beyondmeat.com/en-US/faqs (emphasis added).
      9
21  Beyond Meat, Beyond Meat Appoints Protein Industry Veterans to Top Executive
   Roles as the Company Accelerates its Global Growth Strategy (Dec. 8, 2021),
22
   https://investors.beyondmeat.com/news-releases/news-release-details/beyond-meat-
23 appoints-protein-industry-veterans-top-executive/ (emphasis added).
      10
24    Beyond Meat, This Summer, The Economist Promotes Environmental Awareness
   With Free Beyond Burgers in NYC (June 14, 2017),
25 https://www.beyondmeat.com/en-US/whats-new/this-summer-the-economist-
26 promotes-environmental-awareness-with-free-beyond-burgers-in-nyc (emphasis
   added).
27
   11
      Beyond Meat, Registration Statement (Form S-1) at 9 and 98 (Amend, 6, Apr. 30,
28 2019) (emphasis added).
                                          -4-
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 1 company to investors and the SEC—uses the term “protein” 126 times.12 After all,
 2 without protein, Beyond’s “plant-based proteins” are just plants.
 3          9.    Second, while Beyond Meat distinguishes its products as being made
 4 without “synthetic” ingredients,13 in truth, Beyond Meat’s Beyond Burgers contain
 5 “methylcellulose” – a synthetic ingredient that is commonly used as a laxative, a
 6 filler in cosmetic products, or as a binding agent in hotdogs.14 The scientific
 7 literature recognizes that methylcellulose “does not occur naturally and is
 8 synthetically produced by heating cellulose with caustic solution . . . and treating it
 9 with methyl chloride.”15 Yet despite the methylcellulose in their products,
10 Defendants have flooded the market with promises that their products contain no
11 “synthetic”16 ingredients and are made “directly from plants.”17
12          10.   As with Beyond’s false protein claims, this deception about the lack of
13 “synthetic” or “artificial” ingredients in their products strikes at the heart of
14 Defendants’ value proposition to customers, investors, and business partners. In
15
16
      12
17    Id. See e.g., id. at 2 and 82 (“the protein-packed satisfaction of biting into a
   ‘meaty’ burger or sausage”); id. at 82 (“[W]e requested that the product be sold in
18 the meat case at grocery retailers where meat-loving consumers are accustomed to
19 shopping for center-of-plate proteins.”)
   13
20    Starostinetskaya, supra note 6.
      14
21    WebMD, Methylcellulose (Laxative) Oral Powder – Uses Side Effects, and More
   (last visited May 20, 2022), https://www.webmd.com/drugs/2/drug-
22 6391/methylcellulose-laxative-oral/details; SpecialChem, Methylcellulose (last
23 visited May 20, 2022), https://cosmetics.specialchem.com/inci-
   ingredients/methylcellulose.
24 15
      Devabaktuni Lavany et al., Sources of Cellulose and Their Applications – A
25 Review, 2 INTERNATIONAL JOURNAL OF DRUG FORMULATION AND RESEARCH 19, 30
   (2011) (emphasis added).
26
   16
      Starostinetskaya, supra note 6.
27
   17
      Beyond Meat, Frequently Asked Questions (last visited May 24, 2022),
28 https://www.beyondmeat.com/en-US/faqs.
                                           -5-
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 1 Brown’s own words, Beyond’s purported “commitment to all natural” is at the very
 2 “core of [their] company.”18
 3          11.   These false claims not only appear in Beyond’s advertising and
 4 corporate statements but have been widely spread by Defendant Ethan Brown
 5 himself. Brown is not just Beyond’s “outward face.”19 He’s also a “convincing
 6 evangelist” for the company,20 gobbling up media appearances to sermonize about
 7 Beyond’s promise of being “tomorrow’s global protein company”21 and to emphasize
 8 that the company’s products contain “no artificial ingredients.”22
 9          12.   This is not the first time Brown has been called out for being less than
10 truthful. Company insiders have described Brown’s constant finger-pointing as
11 having led Beyond to “develop[] an internal culture of blame.”23 Others have noted
12 that while Brown may have had the mettle to run a small startup (where truth can be
13
14
      18
15    Beyond Meat, Beyond Meat Opens Doors of New State-of-the-Art Innovation
   Center in Los Angeles, Expanding Research Footprint and Fueling Progress Toward
16 a Perfect Build of Meat Directly from Plants (July 19, 2018),
17 https://investors.beyondmeat.com/news-releases/news-release-details/beyond-meat-
   opens-doors-new-state-art-innovation-center-los.
18 19
      Shanker, supra note 2.
19 20
      Jennifer Wells, THE TORONTO STAR, Beyond Meat’s push to save the planet comes
20 at a price (July 31, 2019),
21 https://www.thestar.com/business/opinion/2019/07/31/beyond-meats-push-to-save-
   the-planet-comes-at-a-price.html.
22 21
      Beyond Meat, Beyond Meat Announces New General Manager to Spearhead
23 Growth in Europe (Dec. 16, 2021), https://www.beyondmeat.com/en-
   US/press/beyond-meat-announces-new-general-manager-to-spearhead-growth-in-
24
   europe.
25 22 Jim Cramer, CNBC, Beyond Meat’s CEO reacts to beef and pork shortages, talks
26 ‘real opportunity’ this summer (May 6, 2020),
   https://www.cnbc.com/2020/05/06/beyond-meat-ceo-looks-to-win-consumers-over-
27 during-meat-shortage.html.
28 23 Shanker, supra note 2.
                                           -6-
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 1 a malleable concept), he “lacks the experience to run the day-to-day operations of a
 2 fast-growing public company” (where truth is mandated by the SEC).24
 3               13.   Defendants’ misleading claims harm consumers, harm competitors, and
 4 harm fair competition. Plaintiff Don Lee Farms—a leading producer of plant-based
 5 and meat products—brings this action to restore competitive equilibrium: to stop
 6 Defendants from continuing to build their brand on deception, to recover damages
 7 caused by Defendants’ false advertising, and to disgorge Defendants of their ill-
 8 gotten profits.
 9                                             PARTIES
10               14.   Plaintiff DLF produces meat, vegetable, and plant-based products under
11 its own label and also co-manufactures products for some of the world’s most
12 recognized and successful food brands. DLF’s plant-based products include the
13 Organic Plant-Based Burger, the Organic Chipotle Black Bean Burger, the Better
14 Than Beef Burger, and the Organic Better Than Beef Crumbles. DLF is incorporated
15 under the laws of California and is headquartered in Inglewood, California.
16               15.   Defendant Beyond Meat describes itself as “one of the fastest growing
17 food companies in the United States, offering a portfolio of revolutionary plant-based
18 meats.”25 Beyond is organized under Delaware law and headquartered in El
19 Segundo, California.
20               16.   Defendant Ethan Brown is the CEO of Beyond Meat and “Beyond’s
21 outward face.”26 He resides in Los Angeles County.
22                                  JURISDICTION AND VENUE
23               17.   Subject matter jurisdiction is proper under 15 U.S.C. § 1121 and 28
24 U.S.C. §§ 1331 and 1367.
25
      24
           Id.
26
      25
      Beyond Meat, Registration Statement (Form S-1) at 1, 56, and 81 (Amend. 6, Apr.
27 30, 2019).
28 26 See Shanker, supra note 2.
                                               -7-
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 1               18.   Personal jurisdiction is proper because Defendants are residents of
 2 California. Defendants also regularly and continuously transact business in
 3 California, including selling and falsely marketing products throughout the State.
 4               19.   Venue is proper under 28 U.S.C. §§ 1391(b) and 1391(c) because
 5 Defendants reside in this district and market and falsely advertise their products here.
 6                                               FACTS
 7               20.   Plaintiff DLF and Defendant Beyond Meat are competitors. Both
 8 companies produce plant-based meats; both companies jockey for placement in and
 9 contracts with many of the same business partners; and both companies vie for many
10 of the same customers.
11               21.   But that is where the similarities end. The two companies’ histories,
12 leadership, and corporate values could not be more different. Beyond Meat is
13 Silicon-Valley flash; DLF is a multi-generation family business. Where DLF
14 prioritizes substance, Beyond Meat prioritizes style.
15               22.   Chief among these differences is the “aggressive stance” that Beyond
16 Meat is willing to take in the marketplace.27 From the beginning, as Brown admitted,
17 the company’s polestar was simply “grabbing as much land as we can,” then figuring
18 out the details once they’d beat competitors to store shelves.28
19               23.   To win the landgrab, Defendants needed to first differentiate themselves
20 from competitors. They did so by emphasizing the two false claims described above.
21               24.   First, Defendants wanted their products to be viewed not just as souped-
22 up veggie burgers, but as proteins that were equivalent to or better than traditional
23 meats. Indeed, Defendants’ central strategy is to sell their products in the “meat
24 section,” thus conditioning consumers “to re-imagine the meat section as the Protein
25
26
27    27
           Wells, supra note 20.
28    28
           Id.
                                                -8-
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 1 Section of the store.”29 While Defendants have succeeded in executing this scheme,30
 2 their success was no foregone conclusion. Brown has admitted that “he spent
 3 months coaxing [retailers] into selling [Beyond’s] burgers in the meat section.”31
 4 Beyond’s S-1 describes the Beyond Burger as being sold “alongside its animal-based
 5 equivalents.”32 But as the testing attached to this complaint shows, Beyond Meat’s
 6 proteins do not measure up to its animal-based counterparts and, accordingly,
 7 Beyond Meat’s products are misbranded and falsely advertised.33
 8            25.   Second, Defendants sought to stand out in the marketplace by claiming
 9 that their products were made with simple plant-based ingredients and without
10 anything synthetic or artificial. Again, Defendants openly admit this fact. In a
11 statement to CNBC, Beyond Meat boasted that it “distinguishes itself by offering
12 products made with simple, plant-based ingredients – without . . . artificially
13 produced ingredients.”34 But once more, the science disproves Beyond Meat’s
14
15
16
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18
      29
19      Beyond Meat, Beyond Beef (last visited May 24, 2022),
      https://www.beyondmeat.com/en-CA/products/beyond-beef (emphasis added).
20    30
      See, e.g., Beyond Meat, The Beyond Burger, Beyond the U.S. (Apr. 6, 2017),
21 https://www.beyondmeat.com/en-US/whats-new/the-beyond-burger-beyond-the-us
22 (“[B]eginning April 21, retail packs of The Beyond Burger will be sold in the
   protein aisle of Green Common supermarkets.” (emphasis added)).
23 31
      Stephanie Strom, N.Y. TIMES, Plant-Based, the Beyond Burger Aims to Stand
24 Sturdy Among Meat (May 22, 2016) (emphasis added).
      32
25      Beyond Meat, Registration Statement (Form S-1) at 82 (Amend. 6, Apr. 30, 2019)
      (emphasis added).
26
      33
           See Element Report.
27
      34
    Sully Barrett, CNBC, How the Impossible Burger is changing the debate over
28 GMO foods (Feb. 13, 2020) (emphasis added).
                                             -9-
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 1 claims. Beyond Meat includes methylcellulose in its products – an ingredient
 2 recognized by both scientists35 and regulatory bodies36 as a synthetic chemical.
 3         26.   Buoyed by these two false claims, Defendants’ effort to win the
 4 “landgrab” has largely succeeded. Brown admits, for example, that Beyond has
 5 seized a potentially insurmountable “first mover position.”37 He has even claimed to
 6 investors that Beyond may have “buil[t] such a big lead” in the marketplace that
 7 competitors may never be able to catch up.38
 8         27.   While Defendants’ privileged market position is undeniable, their
 9 success cannot be disentangled from their false claims. From the very beginning of
10 the company, Beyond Meat has relied on claims of superior protein and non-
11 synthetic ingredients to win in the marketplace. Indeed, these same false refrains
12 have been a fixture on Beyond Meat’s labeling and have appeared throughout
13 Defendants’ website, public filings, and advertising activities.
14
15
16   35
       Lavany et al., supra note 15 (“[Methylcellulose] is a chemical compound derived
17   from cellulose. . . . Methyl cellulose does not occur naturally and is synthetically
     produced by heating cellulose with caustic solution (e.g. a solution of sodium
18   hydroxide) and treating it with methyl chloride.” (emphasis added)); see also
19   Dorota Wojcik-Pastuszka et al., The Interactions and Release Kinetics of Sodium
     Hyaluronate Implemented in Nonionic and Anionic Polymeric Hydrogels, Studied by
20   Immunoenzymatic ELISA Test, 14 PHARMACEUTICS 58 (2022) (methylceullose is a
21   “synthetic polymer”).
     36
      See European Food Safety Authority Panel on Food Additives and Nutrient
22
   Sources Added to Food, Re‐evaluation of celluloses E 460(i), E 460(ii), E 461, E
23 462, E 463, E 464, E 465, E 466, E 468 and E 469 as Food Additives at 16 (2018)
   (methylcellulose is “obtained synthetically from fibrous plant material”).
24
   37
      Beyond Meat, Q1 2021 Earnings Call (May 6, 2021), transcript available at
25 https://www.fool.com/earnings/call-transcripts/2021/05/07/beyond-meat-inc-bynd-
26 q1-2021-earnings-call-transcr/.
     38
27   Keith Nunes, MEAT+POULTRY, Beyond Meat works to build lead over competitors
   (June 12, 2020), https://www.meatpoultry.com/articles/23286-beyond-meat-works-
28 to-build-lead-over-competitors.
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 1                             Claims On Defendants’ Packaging
 2        28.    Beyond Meat admits that it targets health-conscious consumers who
 3 care about “what they put in their body.”39 But people who care about their health
 4 read labels, and Defendants’ labels are false.
 5        29.    For example, Defendants claim that their Beefy Crumbles deliver 26%
 6 of the percent daily value for protein and that their Beyond Burgers contain a full
 7 40% of the percent daily value for protein. But as revealed through testing using the
 8 “internationally recognized approach to measuring the quality of dietary protein”40—
 9 the Protein Digestibility Corrected Amino Acid Score, or PDCAAS—Beyond Meat’s
10 protein claims are false.
11        30.    In layman’s terms, PDCAAS provides “corrected” protein levels by
12 controlling for the efficiency and digestibility of a protein. As applied to percent
13 daily values, PDCAAS reflects the commonsense notion that if a protein is of lower
14 quality, you would need to eat more of it to get your daily protein requirements. 41
15
     39
16    Beyond Meat, Putting Their Money Where Their Mouth Is: Growing List of All-
   Star Athletes Invest in Beyond Meat (Feb. 20, 2019),
17 https://www.beyondmeat.com/en-US/press/putting-their-money-where-their-mouth-
18 is-growing-list-of-all-star-athletes-invest-in-beyond-meat.
   40
19    Ashleigh K. Wiggins et al., Research and Regulatory Gaps for the Substantiation
   of Protein Content Claims on Foods, 44 APPL. PHYSIOL. NUTRITION METAB. 95, 96
20 (2019); see also Christopher P. Marinangeli et al., Potential Impact on the Digestible
21 Indispensable Amino Acid Score as a Measure of Protein Quality on Dietary
   Regulations and Health, 75 NUTRITION REVIEWS 658, 659 (2017) (“Since the
22 endorsement of the PDCAAS by the Codex Alimentarius Commission’s Committee
23 on Vegetable Proteins and the Joint Food and Agriculture Organization of the United
   Nations (FAO)/World Health Organization (WHO) Expert Consultation on Protein
24 Quality Evaluation, the PDCAAS has been widely adopted as the standard method
25 for determining the quality of dietary protein and it remains so in the United
   States.”).
26 41
      Beyond Meat uses “pea protein isolate” as a primary ingredient. Pea protein
27 isolate—which can be purchased in powdered form at supplement stores—is a
28 processed form of pea protein that uses chemicals to remove the non-protein
                                          - 11 -
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 1         31.    This is a problem for Beyond Meat. Despite claims that its products
 2 provide “equal or superior protein” as compared to real meat,42 the protein in Beyond
 3 Meat’s products cannot live up to the meat-based equivalents to which Beyond
 4 compares itself. While the PDCAAS score of traditional beef is .92 out of 1;43 the
 5 average PDCAAS scores of Beyond Meat’s crumbles and burger products are just
 6 .645 and .8875.44
 7         32.    This difference is consequential. As shown above in Table 1, Beyond
 8 Meat’s lower PDCAAS scores have caused Defendants to overstate the daily protein
 9 value on these flagship products by between 12% and 30%. This means that
10 Defendants’ claims about percent daily values for protein on each and every Beyond
11 Burger and Beefy Crumble package are false. And when consumers purchase these
12 products as substitute sources of protein to meet their daily protein requirements—as
13 Beyond Meat encourages—they are being materially misled.
14         33.    But Beyond’s protein labeling is not only false; it also violates FDA
15 regulations. The FDA has very specific rules for calculating percent daily value of
16
17
     nutrients that naturally occur in peas. As Brown has described, Beyond’s proteins
18   are fabricated through a chemical process: by putting pea flour into an aqueous
19   slurry, manipulating the acidity of that slurry (causing the pea flour to separate into
     component parts), then pressurizing the protein to “reset[] the structure . . . so that it
20   presents like it would in muscle.” Zachary Mack, Why Beyond Meat Uses Pea
21   Protein (Jun. 11, 2019), https://www.theverge.com/2019/6/11/18661351/vergecast-
     podcast-beyond-meat-burger-pea-protein-interview. Such highly processed proteins
22   are recognized in the literature as “fabricated” ingredients. See, e.g. Clodualdo C.
23   Maningat, Textured Wheat and Pea Proteins For Meat Alternative Applications, Vol.
     99 CEREAL CHEMISTRY AT 46 (Nov. 19, 2021).
24   42
      Beyond Meat, Is Meat Production An Efficient Use of Resources? (Mar. 8, 2021),
25 https://www.beyondmeat.com/en-US/whats-new/is-meat-production-an-efficient-
   use-of-resources.
26
   43
      Jay R. Hoffman et al., Protein – Which is Best?, 3 J. SPORTS SCI. MED. 118, 120
27 (2004).
28 44 See Element Report.
                                            - 12 -
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 1 protein. In fact, recognizing that not all proteins are the same quality, FDA requires
 2 any percent-daily-value claims to be calculated using the PDCAAS method. (21
 3 C.F.R. § 101.9(c)(7).)
 4        34.   Beyond Meat either did not test its proteins following this FDA-required
 5 PDCAAS method or chose to ignore that FDA requirement entirely.45 Instead,
 6 Beyond Meat appears to have (incorrectly) calculated the percent daily value
 7 assuming its (inferior) proteins could measure up to the PDCAAS of its meat-based
 8 counterparts. But as shown above, they cannot.
 9        35.   Beyond Meat’s error has caused mislabeled and misbranded products to
10 be sold throughout the supply chain. The products tested for this complaint were
11 purchased from household-name retailers across the country, including Walmart,
12 Publix, Albertsons, Safeway, and Ralphs.
13        36.   Beyond Meat’s exaggerated protein claims were unearthed by rigorous
14 testing.46 After purchase, the products were shipped with dry ice to an independent
15 and internationally accredited food-testing laboratory. Following AOAC
16 International Official Methods of Analysis, the laboratory extracted a protein sample,
17 analyzed its contents, and calculated the PDCAAS scores revealed above.
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     45
      Because Beyond Burger and Beefy Crumbles—both fabricated foods
23 manufactured pursuant to a patented method—are fortified with pea protein isolate as
24 an added nutrient, protein is a Class I nutrient under FDA requirements and the total
   nutritional value of protein in the products must meet or exceed the amount declared
25 on the products’ nutritional labels. (21 C.F.R. § 101.9(g)(4)(i)). Furthermore,
26 Beyond Meat adds other exogenous sources of protein to its products, such as rice
   protein and yeast, reinforcing that Beyond’s stated protein values are subject to
27 Class I requirements. (Id.)
28 46 See Element Report.
                                          - 13 -
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 1                            Claims On Defendants’ Website
 2        37.    Defendants’ website is a consumer-facing platform, with various pages
 3 that include a “newsroom,” a product catalog, suggested recipes, and an online shop.
 4 Across these varied pages, however, is one constant: Defendants’ false claims.
 5        38.    For example, Defendants’ website has, for years, featured a Frequently
 6 Asked Questions section. In response to the self-posed question of whether “Beyond
 7 Meat [Is] Healthy,” Defendants claim that their products are “made from simple
 8 ingredients derived from plants, without . . synthetically produced ingredients” and
 9 “offer protein levels greater than or equal to their animal-based counterparts.”47
10        39.    At least by March 2015—in response to the question “How’s it
11 made?”—Beyond Meat asserted that it “uses all-natural ingredients” and did not
12 mention the synthetically produced methylcellulose used in Beyond Meat’s
13 products.48 In 2021, Beyond was still repeating these false claims in its FAQs.
14 Responding to a similar question— “What is Beyond Meat Made Out Of?”—Beyond
15 still did not mention methylcellulose, but did choose to say that its “ingredients are
16 simple and made from plants – without . . . synthetically produced ingredients.”49
17        40.    Beyond Meat has recently and quietly scrubbed the claims of “all-
18 natural ingredients” from its website. Nonetheless, Beyond Meat’s current continues
19 to falsely claim that its products do not use “synthetically produced ingredients.”
20
21
22   47
     Beyond Meat, Frequently Asked Questions (last visited June 1, 2022),
23 https://www.beyondmeat.com/en-US/faqs.
     48
24    A copy of the FAQs section of Beyond Meat’s webpage as of March 20, 2015,
   captured by the Wayback Machine, available at
25 https://web.archive.org/web/20150320115902/http://beyondmeat.com:80/faqs.
26 49 A copy of the FAQs section of Beyond Meat’s webpage as of April 29, 2021
27 captured by the Wayback Machine, available at
   https://web.archive.org/web/20210429055411/https://www.beyondmeat.com/faqs/
28 (emphasis added).
                                          - 14 -
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 1        41.    Likewise, Beyond Meat also claims on its “blog” that its products can
 2 “consistently offer[] equal or superior protein” compared to meat.50
 3                                Claims in Public Appearances
 4        42.    As Beyond Meat’s “outward face,”51 Brown frequently serves as the
 5 voice and mastermind behind Beyond’s marketing. In these public appearances,
 6 Brown makes unambiguous commitments to the public about Beyond’s ingredients
 7 and frequently repeats the false statements described above.
 8        43.    In an August 2019 interview with Bloomberg, for example, Brown said
 9 that he modeled Beyond’s advertising after “the iconic Got Milk? Ads.”52 Brown told
10 the magazine he “wanted to send the same type of message—if you eat this, you’ll
11 feel better, perform better.”53 He was quoted as claiming that a “well-designed plant
12 protein can be a superior protein.”54
13        44.    In a December 2019 interview with Bloomberg Businessweek, Brown
14 stated: “Our focus is entirely on the consumer. It’s our relationship with the
15 consumer that makes the business so special. We listen to what they say. . . . They
16 told us nothing artificial. They said keep everything natural. So that’s what we
17 do.”55 (They don’t.)
18
     50
19    Beyond Meat, Is Meat Production an Efficient Use of Resources (Mar. 8, 2021),
   https://www.beyondmeat.com/en-US/whats-new/is-meat-production-an-efficient-
20 use-of-resources.
21 51 Shanker, supra note 2.
22   52
      Deena Shanker, BLOOMBERG, The Hottest Thing in Food is Made of Peas, Soy,
23 and Mung Beans (Aug. 21, 2019).
   53
      Id.
24
   54
      BLOOMBERG, Beyond Meat CEO Says Products are Fully Transparent (Dec. 16,
25 2019), https://www.bloomberg.com/news/videos/2019-12-16/beyond-meat-ceo-says-
26 their-products-are-fully-transparent-video.
     55
27   Id. (emphasis added). True to form, Brown stressed that he is “a health nut,” made
   sure it was clear that he eats his Beyond Meat “with a lettuce wrap,” and emphasized
28 that it’s “not his fault” if consumers and businesses add “extra mayo.” Id.
                                          - 15 -
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 1              45.   Similarly, in a June 2019 interview with The Verge, Brown stated:
 2 “We’ve kept anything that’s not natural out of our product.”56 Brown further
 3 claimed that he had instructed the Beyond Meat “science team [] to scour the earth,
 4 [and] uncover the parts of nature that exist today that you can use to enhance this
 5 mission.”57
 6              46.   And in a May 2020 interview on the television show “Mad Money” with
 7 Jim Cramer, Brown falsely claimed that Beyond Meat: “made a commitment . . . to
 8 use no artificial ingredients.”58
 9                            Claims in SEC Filings and Press Releases
10              47.   Defendants have amplified these false claims in filings with the SEC
11 and in their corporate press releases.
12              48.   For example, in Beyond Meat’s Form S-1 Registration Statement—
13 which provided the essential background information about the company for its
14 initial stock offering—Beyond Meat repeatedly claimed that it “build[s] meat
15 directly from plants.”59 Indeed, Beyond identified this commitment as the
16 company’s founding “vision” and its central “innovation.”60
17              49.   Defendants’ “investor” press releases are likewise laced with falsities:
18                     In July 2018, Beyond Meat issued a press release quoting Brown as
19                       stating: “The use of science and technology to build meat directly
20
21   56
          Mack, supra note 41.
22   57
          Id.
     58
23        Cramer, supra note 22.
     59
24     See Beyond Meat, Registration Statement (Form S-1) at 1, 56, 81 (Amend. 6, Apr.
     30, 2019) (emphasis added).
25
     60
     See id. at 84 (“We founded Beyond Meat in 2009 with a vision of building meat
26 products directly from plants.”) and F-9 (“The Company builds meat directly from
27 plants, an innovation that enables consumers to experience the taste, texture and
   other sensory attributes of popular animal-based meat products while enjoying the
28 nutritional benefits of eating the Company’s plant-based meat products.”).
                                               - 16 -
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 1                  from plants, coupled with a commitment to all natural . . .
 2                  ingredients, is the core of our company.” In the same press release,
 3                  Beyond Meat’s VP of Research & Development represented that the
 4                  facility “gives us a leg up as we apply this knowledge in our efforts
 5                  to perfectly build meat directly from plant materials, using only
 6                  natural ingredients.”61
 7                In an August 2020 press release announcing a partnership with BJ’s
 8                  and Sam’s Club, Beyond claimed that its products “are designed to
 9                  meet, if not exceed, the nutritional benchmarks of its animal protein
10                  equivalent.”62
11        50.    It’s still to be seen whether Defendants will face securities scrutiny for
12 these and similar claims. But what’s clear is that, by using these platforms, Beyond
13 Meat’s false claims reach a range of stakeholders in the business community,
14 including large food service companies, restaurants, potential partners, and their
15 current and prospective shareholders, all of whom rely on these SEC filings and
16 press releases when deciding whether to do business with the company.
17                         Claims in Other Promotional Activity
18        51.    Defendants have highlighted these same false claims as the centerpiece
19 of other advertising and promotional activities.
20
21
22
     61
      Beyond Meat, Beyond Meat Opens Doors Of New State-Of-The-Art Innovation
23 Center In Los Angeles, Expanding Research Footprint And Fueling Progress Toward
24 A Perfect Build Of Meat Directly From Plants (July 19, 2018),
   https://investors.beyondmeat.com/news-releases/news-release-details/beyond-meat-
25 opens-doors-new-state-art-innovation-center-los (emphasis added).
26 62 Beyond Meat, Beyond Meat Expands Club Store Distribution With BJ’s Wholesale
27 and Sam’s Club (Aug. 3, 2020), https://investors.beyondmeat.com/news-
   releases/news-release-details/beyond-meatr-expands-club-store-distribution-bjs-
28 wholesale-and/.
                                          - 17 -
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 1         52.   For example, Defendants use their “strong social marketing” and social
 2 media presence to generate millions of views of these false claims, such as the less-
 3 than-subtle post below:
 4
 5
 6
 7
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 9
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14
15         53.   Defendants have also used celebrities as mouthpieces for these claims.
16 In 2017, for example, Beyond Meat hosted actress Zooey Deschanel at “Beyond
17 Meat HQ” to film a web-series episode. Defendants blasted the episode across social
18 media and summarized: “At the start of the episode, Zooey posed this question: ‘Is
19 there a future where we can get all the protein . . . we need from plants, but not lose
20 what we love about meat?’ By the end of this video, the clear answer to this question
21 is a resounding YES. . . . To our delight, Zooey was more than impressed! . . . Zooey
22 goes on to elaborate that ‘It looks like meat, it tastes like meat, and it’s the same
23 micronutrient profile as a burger.’” (emphasis in original).63
24
25
26   63
     Beyond Meat, Zooey Deschanel Explores the Plant-Based Benefits of the Beyond
27 Burger (Nov. 28, 2017), https://www.beyondmeat.com/en-US/whats-new/zooey-
   deschanel-explores-the-benefits-of-beyond-meats-plant-based-alternatives-in-foods-
28 roots-series.
                                           - 18 -
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 1            54.     Following the same playbook, in August 2020, Beyond Meat debuted its
 2 first television commercial starring actor Octavia Spencer and athlete Todd Gurley.
 3 Commenting on the marketing campaign, Beyond Meat’s (then) Chief Marketing
 4 Officer, Stuart Kronauge, stated: “We have a vision of a future where we can
 5 continue to eat what we love through the creation of delicious, nutritious options
 6 without the use of . . . synthetic ingredients.”64
 7            55.     Also in August 2020, when another competitor of Beyond Meat
 8 launched a campaign criticizing Beyond Meat’s ingredients, a spokesperson for
 9 Beyond Meat responded: “If they were clear on our ingredients, they would see that
10 our products are made with simple, plant-based ingredients. . . . No synthetically
11 produced ingredients.”65
12          Defendants’ False Claims Have Distorted the Market and Harmed DLF
13            56.     There’s a reason why Defendants continually fall back on these false
14 claims: They work. Defendants’ false claims have proven convincing to both
15 business partners and consumers alike.
16            57.     Beyond Meat’s business partners have been influenced by Defendants’
17 false claims:
18                   In 2016, Beyond talked its way into Whole Foods Market, a high-end
19                     grocer with famously high quality standards.66 In covering Beyond’s
20                     infiltration of Whole Foods, the New York Times reported on Beyond’s
21
22
23
     64
          Starostinetskaya, supra note 6.
24
     65
      Jenny Splitter, FORBES, Lightlife Calls on Impossible and Beyond To Make
25 Cleaner Plant-Based Food (Aug. 25, 2020) (emphasis added).
26 66 Whole Foods Market, Food Ingredient Quality Standards (last accessed May 20,
27 2022), https://www.wholefoodsmarket.com/quality-standards/food-ingredient-
   standards (“We believe that the best ingredients belong on your plate. . . . If it
28 doesn’t meet our standards, we won’t sell it.”).
                                              - 19 -
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 1                 purported commitment to “no preservatives and all natural
 2                 ingredients.”67
 3               In September 2020, in explaining why Fresh Brothers chose to partner
 4                 with Beyond Meat, Fresh Brothers CEO stated: “All of our products are
 5                 free of synthetic additives and have no added preservatives or fillers so
 6                 it tastes better and is better for you.”68
 7        58.     Defendants’ false claims have also influenced consumers’ purchasing
 8 decisions. A March 2021 Twitter exchange is illustrative. In a paid ad for Beyond
 9 Meat, actor Leonardo DiCaprio tweeted: “Every single person can help the planet
10 and reduce climate change with one small choice every week. Join me and
11 @BeyondMeat in our mission to rethink the future of food.” A skeptical Twitter
12 user responded: “I like the thought, but this isn’t really a good alternative. Highly
13 processed . . .” But then a third user interceded: “No GMO whatsoever in
14 @BeyondMeat. Also look at the ingredients—all natural. . . . Please try it, it’s
15 great!”69
16        59.     Countless other social media users reveal that they purchase Beyond
17 Meat as a protein source. Some of these examples are lighthearted,70 but others show
18 that Beyond Meat’s false claims have real consequences. For example, one user
19
20
21   67
     Stephanie Strom, N.Y. TIMES, Plant-Based, the Beyond Burger Aims to Stand
22 Sturdy Among Meat (May 22, 2016).
     68
23     QSR MAGAZINE, Fresh Brothers and Beyond Meat Launch New Items (Sept. 24,
     2020) (emphasis added).
24
     69
      @KalienHodl, TWITTER (Mar. 4, 2021, 2:38 PM),
25 https://twitter.com/KalienHODL/status/1367605396588830721.
26 70 Cates Holderness (@catesish), TWITTER (Dec. 14, 2021, 7:35 PM),
27 https://twitter.com/catesish/status/1470960669365313542 (“me, making spicy
   @BeyondMeat breakfast sausage at 10:30 PM: well, you see, I didn’t meet my
28 protein goals today so obviously this is the healthy decision to make.”).
                                            - 20 -
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 1 posted that her husband with “end stage kidney disease . . . [who] has to avoid meat”
 2 due to his illness eats Beyond Meat to make sure he can “still get protein.”71
 3         60.    In short, Defendants’ false and misleading claims have influenced and
 4 will continue to influence decisions made by consumers and food service companies.
 5 And those claims have led marketplace actors to choose Beyond Meat over its
 6 competitors.
 7         61.    Plaintiff DLF has experienced this dynamic firsthand. DLF’s plant-
 8 based and traditional meats have lost sales due to Beyond’s misstatements.
 9         62.    DLF’s plant-based products have been directly impacted. DLF
10 developed the first truly all-natural plant-based burger—the Organic Plant-Based
11 Burger—without methylcellulose or any other artificial or synthetically produced
12 ingredients. This is no small feat – the use of artificial and synthetic ingredients is a
13 major shortcut to achieve product characteristics (like “mouth feel”) that consumers
14 have come to expect.72 Forgoing these synthetic ingredients thus involves a
15 tradeoff—prioritizing simple and honest ingredients over the benefits that can come
16 from using synthetics.
17         63.    But Defendants have tried to have it both ways. They’ve used synthetic
18 ingredients (reaping the product benefits) while claiming that they don’t (unfairly
19 reaping an elevated consumer perception). So while DLF’s Organic Plant-Based
20 Burger was unique in the marketplace, that key fact was crowded out by Beyond
21 Meat’s repeated false and misleading claims that its products were free from
22 synthetics and artificial ingredients.
23
     71
24     @NJFarmer312, TWITTER (Nov. 16, 2020, 4:07 AM)
     https://twitter.com/NJFarmer312/status/1328308791276924928.
25
     72
     See Elaine Watson, Plant-based Meat Formulation In Focus, from Beyond Meat to
26 Motif FoodWorks, Roquette, and Cargill, FOODNAVIGATOR (July 27, 2021)
27 (“Replacing that functionality right now is very difficult because methylcellulose has
   great binding properties, and during the cooking process it gels to enhance the bite
28 and firmness and juiciness of the finished product.”).
                                           - 21 -
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 1           64.    DLF’s damages are concrete. Despite its initial success, DLF’s Organic
 2 Plant Based Burger was eventually replaced in key retail accounts by the Beyond
 3 Burger. And potential retail partners have declined to carry DLF’s other plant-based
 4 proteins because they already stocked Defendants’ products, again showing that
 5 Defendants’ plan to win the “landgrab” by any means necessary has worked.
 6           65.    Defendants’ false claims give them a leg up not just against plant-based
 7 proteins, but all proteins. Indeed, Defendants admit that they market to “meat-loving
 8 consumers” and that they “compete with conventional animal-protein companies.”
 9 That, of course, is the entire point: by attempting to mimic the taste and feel of
10 animal proteins, Defendants are trying to “capture a larger market share of
11 consumers who typically eat animal-based meats.”73
12           66.    This is a zero-sum game. As Defendants’ have “capture[d]” consumers
13 and convinced them to abandon traditional proteins, manufacturers of those
14 traditional proteins (including DLF) necessarily lose sales.
15           67.    In sum, Defendants and their products have benefitted from an
16 undeserved competitive advantage in the marketplace. But at the end of the day,
17 Defendants’ purported competitive advantage—like their products—is artificial.
18                                FIRST CAUSE OF ACTION
19            (Violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a))
20           68.    DLF realleges and incorporates by reference the allegations in
21 paragraphs 5–13 and 28–67 as though fully set forth herein.
22           69.    Defendants have engaged in unfair and fraudulent business acts and
23 practices, including the dissemination of unfair, deceptive, untrue, and misleading
24 advertising about its products.
25           70.    For example, as described above, Defendants have falsely labeled their
26 Beyond Burger and Beefy Crumble products with inflated daily protein values.
27
28   73
          Beyond Meat, Registration Statement (Form S-1) at 58 (Amend. 6 Apr. 30, 2019).
                                             - 22 -
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 1 Likewise, Defendants have falsely claimed that their products are free from
 2 “synthetic” ingredients, despite the synthetic methylcellulose in their eponymous
 3 Beyond Burger.
 4        71.    Defendants have knowingly induced or caused third parties—including
 5 retail business partners—to engage in additional acts of false advertising by repeating
 6 Defendants’ false claims.
 7        72.    Defendants knew or should have known that their advertising activities
 8 were false, misleading, and deceptive.
 9        73.    Defendants’ false and misleading statements have deceived and have the
10 tendency to deceive a substantial segment of their intended audience (including
11 consumers, customers, and potential food service business partners) about matters
12 material to their decisionmaking, and are likely to continue to materially deceive
13 others in the future. Defendants deliberately disseminated these false claims in
14 various channels relied on by both consumers and by sophisticated business entities.
15        74.    Defendants’ products are offered in interstate commerce. Similarly,
16 Defendants’ false claims were and are made in commercial advertising and
17 promotion in interstate commerce.
18        75.    DLF’s products directly compete with Defendants’ improperly marketed
19 products, so DLF has been and is likely to continue to be injured as a result of
20 Defendants’ false and misleading advertising. Such damages include, but are not
21 limited to, lost sales and harm to DLF’s business reputation and goodwill.
22        76.    DLF’s immediate, irreparable injuries have no remedies adequate at
23 law, and DLF is entitled to injunctive relief and up to three times its actual damages
24 and/or an award of Defendants’ profits, as well as DLF’s costs and fees under 15
25 U.S.C. § 1116–17.
26
27
28
                                          - 23 -
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 1                            SECOND CAUSE OF ACTION
 2           Violation of California’s False Advertising Law (“FAL”) under
 3               California Business & Professions Code § 17500, et seq.
 4                     (Against Defendants Beyond Meat and Brown)
 5        77.    DLF realleges and incorporates by reference the allegations in
 6 paragraphs 5–13, 28–46, and 51–67 as though fully set forth herein.
 7        78.    California’s FAL prohibits “untrue or misleading” statements in “any
 8 advertising device . . . or in any means whatever, including over the internet”
 9 concerning “any circumstance or manner of fact” about a product.
10        79.    Defendants advertise in California and in this District with the intent to
11 increase the sales of their products and to induce the public into purchasing those
12 products.
13        80.    Defendants have violated the FAL by making false and misleading
14 descriptions of fact about their products. Those statements misrepresent the nature,
15 characteristics, and qualities of Defendants’ products.
16        81.    For example, as described above, Defendants have falsely labeled their
17 Beyond Burger and Beefy Crumble products with inflated daily protein values.
18 Likewise, Defendants have falsely claimed that their products are free from
19 “synthetic” ingredients, despite the synthetic methylcellulose in their eponymous
20 Beyond Burger.
21        82.    Defendants knew or should have known by the exercise of reasonable
22 care that its advertising and promotions were false and misleading.
23        83.    Defendants’ false and misleading statements have deceived and have the
24 tendency to deceive a substantial segment of their intended audience (including
25 consumers, customers, and potential food service business partners) about matters
26 material to their decisionmaking, and are likely to continue to materially deceive
27 others in the future. Defendants deliberately disseminated these false claims in
28 various channels relied on by both consumers and by sophisticated business entities.
                                          - 24 -
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 1        84.    Defendants’ violations have proximately harmed DLF. As a proximate
 2 result of Defendants’ conduct, DLF has suffered injury in fact through lost revenue,
 3 profits, and commercial opportunities.
 4        85.    Unless enjoined, Beyond Meat will continue to cause further
 5 competitive and commercial harm to DLF.
 6        86.    DLF has no adequate remedy at law and is entitled to injunctive relief
 7 and restitution under California Business and Professions Code § 17535.
 8                            THIRD CAUSE OF ACTION
 9         Violation of California’s Unfair Competition Law (“UCL”) under
10              California Business and Professions Code §§ 17200, et seq.
11                     (Against Defendants Beyond Meat and Brown)
12        87.    DLF realleges and incorporates by reference the allegations in
13 paragraphs 5–13 and 28–67 as though fully set forth herein.
14        88.    California Business and Professions Code §§ 17200 et seq., provides a
15 private right of action against any person who engages in “unfair competition.” Any
16 person who has “suffered injury in fact and has lost money or property as a result of
17 the unfair competition,” may bring suit. The UCL has three “prongs,” prohibiting
18 any “unlawful,” “fraudulent,” or “unfair” business act or practice.
19        89.    Defendants violate the “unlawful” prong of the UCL because, inter alia,
20 Defendants’ advertising and promotions violate state and federal law (including the
21 Lanham Act and FAL, as described above). In addition, Beyond Meat’s labeling
22 practices, including its failure to use the FDA-required PDCAAS method, violate
23 FDA regulations including 21 C.F.R. § 101.9(c).
24        90.    Defendants violate the “unfair” prong of the UCL because they have
25 engaged in conduct that significantly threatens or harms competition. As described
26 above, Defendants have implemented a strategy of dishonesty to harm competitors
27 by misstating their ingredients and deceiving customers and consumers.
28
                                          - 25 -
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 1        91.      Defendants have violated the “fraudulent” prong of the UCL by
 2 engaging in conduct that is likely to deceive a reasonable consumer and, in fact, has
 3 deceived the public by overstating the health characteristics of their products and
 4 misstating their ingredients.
 5        92.      Defendants’ unlawful, unfair, and fraudulent conduct has caused and
 6 continues to cause substantial and irreparable competitive and commercial injury to
 7 DLF. DLF has lost revenue, profits, and commercial opportunities as a result of
 8 Defendants’ conduct.
 9        93.      The substantial injuries to DLF are not outweighed by any
10 countervailing benefits to consumers, as there can be no benefit to consumers from
11 receiving false or misleading information.
12        94.      Unless enjoined, Defendants will continue to cause further competitive
13 and commercial harm to DLF.
14        95.      DLF has no adequate remedy at law and is entitled to injunctive relief
15 and restitution under California Business and Professions Code § 17203.
16                                  PRAYER FOR RELIEF
17        DLF respectfully requests the following relief:
18        1. A judgment in favor of DLF and against Defendants on all causes of action;
19        2. Orders preliminarily and permanently enjoining Defendants from engaging
20              in the unlawful conduct described above;
21        3. An order directing Defendants to disseminate, in a form approved by the
22              Court, advertising designed to correct the erroneous impressions created by
23              their false and misleading claims;
24        4. An order directing Defendants to correct the false and misleading
25              misrepresentations on their product labels;
26        5. A declaration that this is an “exceptional case” due to the willful nature of
27              Defendants’ unlawful conduct, and an award of damages, fees, and costs to
28              DLF under 15 U.S.C. § 1117, and any other damages (including treble
                                            - 26 -
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1             damages, disgorgement, and attorney’s fees) to the full extent allowable
2             under the law;
3          6. An award of compensatory, consequential, and punitive damages for injuries
4             directly and proximately caused by Beyond Meat, as described herein,
5             according to proof;
6          7. An award of restitution under § 17203 of the California Business and
7             Professions Code;
8          8. An award of reasonable attorneys’ fees and costs, including the costs of suit
9             incurred herein, to the full extent permitted by law;
10         9. An award of pre-judgment interest on the amount of any judgment in favor
11            of DLF;
12         10. Any other equitable relief necessary to prevent and remedy Beyond Meat’s
13            unlawful conduct; and
14         11. Such other and further relief as the Court may deem just and proper.
15                                  DEMAND FOR JURY TRIAL
16         DLF demands a trial by jury on all claims for which trial by jury is proper.
17
18
     Dated: June 2, 2022                   Respectfully submitted,
19
                                           HUESTON HENNIGAN LLP
20
21
22                                         By:
                                                 John C. Hueston
23
24                                               Attorneys for Plaintiff
                                                 Don Lee Farms
25
26
27
28
                                           - 27 -
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      EXHIBIT A
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                                                     Element
                                                                         29(503)of253-9136
                                                                                    53 Page  ID1#:29
                                                                                           Page  of 24
                                                                                  12003 N.E. Ainsworth Circle,    F: +1 (503) 253-9019
                                                                                  Portland, Oregon                E: info.portland.parkrose@element.com
                                                                                  97220, United States            W: www.element.com




Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES-BEEFY                        Lab Reference #          18059-1
                                                   PLANT BASED CRUMBLES BB 11/9/22 / LOS
                                                   ANGELES
                      Lot/Batch No.                20211109E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        27.0      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.18     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.31     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.19     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   4.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.09     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.65     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.34     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.03     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.27     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.50     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.19     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.43     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.01     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.26     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.02     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.42     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.68                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.63                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES-BEEFY                        Lab Reference #          18059-2
                                                   PLANT BASED CRUMBLES BB 11/8/22 / LOS
                                                   ANGELES
                      Lot/Batch No.                20211108E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        27.2      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.19     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.36     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.19     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   4.88     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.12     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.69     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.36     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.06     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.53     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.20     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.45     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.03     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.26     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.03     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.45     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.69                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.63                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES-BEEFY                        Lab Reference #          18059-3
                                                   PLANT BASED CRUMBLES BB 2/28/23 / MIAMI
                      Lot/Batch No.                20220228E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        28.3      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.31     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.63     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.63     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.30     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.21     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.74     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.47     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.62     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.24     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.65     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.34     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.57     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.30     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.57     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.67                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.62                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES-BEEFY                        Lab Reference #          18059-4
                                                   PLANT BASED CRUMBLES BB 2/28/23 / MIAMI
                      Lot/Batch No.                20220228E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        29.0      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.32     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.70     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.38     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.22     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.75     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.46     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.26     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.30     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.32     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.61     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.12     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.29     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.12     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.70                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.64                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
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                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES-BEEFY                        Lab Reference #          18059-5
                                                   PLANT BASED CRUMBLES BB 3/28/22 / LOS
                                                   ANGELES
                      Lot/Batch No.                20210328E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        26.3      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.31     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.62     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.30     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.20     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.74     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.48     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.24     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.30     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.31     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.58     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.12     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.55     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.76                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.70                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
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                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES-BEEFY                        Lab Reference #          18059-6
                                                   PLANT BASED CRUMBLES BB 2/28/23 / MIAMI
                      Lot/Batch No.                20220228E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        29.4      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.32     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.69     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.70     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.38     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.22     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.75     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.48     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.27     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.29     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.31     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.60     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.12     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.29     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.13     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.66                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.61                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-25
                                                   PATTIES BB 9/28/22 / LOS ANGELES
                      Lot/Batch No.                81B010031271 19:26                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        18.3      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.85     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.64     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   2.03     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.28     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.78     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.85     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.49     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.35     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.95     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.75     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.70     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.19     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.69     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.98     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.93                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.86                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-26
                                                   PATTIES BB 8/25/22 / LOS ANGELES
                      Lot/Batch No.                V1B010031237 07:44                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        18.7      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.76     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.52     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.01     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.71     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.77     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.36     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.27     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.87     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.69     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.84     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.63     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.21     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.63     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.89     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.91                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.84                     May 11, 2022            Calculated                     Calculated .




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                                                                                  12003 N.E. Ainsworth Circle,    F: +1 (503) 253-9019
                                                                                  Portland, Oregon                E: info.portland.parkrose@element.com
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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-27
                                                   PATTIES BB 10/13/22 / MIAMI
                      Lot/Batch No.                S1B010031286 15:31                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.8      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.55     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.86     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.74     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.42     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.29     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.23     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.90     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.70     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.86     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.65     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.65     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                1.00                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.93                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-28
                                                   PATTIES BB 8/9/22 / LOS ANGELES
                      Lot/Batch No.                V1B010031221 12:16                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.2      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.61     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.89     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.74     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.43     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.81     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.43     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.32     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.91     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.76     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.88     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.19     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.94     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.97                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.89                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-29
                                                   PATTIES BB 11/22/22 / MIAMI
                      Lot/Batch No.                V1B010031326 12:31                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.1      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.62     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.91     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.16     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.75     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.33     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.92     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.77     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.89     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.68     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.98                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.90                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
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                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-30
                                                   PATTIES BB 8/20/22 / MIAMI
                      Lot/Batch No.                V1B010031232 07:15                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.4      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.94     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.23     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.76     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.45     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.48     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.33     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.77     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.90     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.68     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.96     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.98                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.90                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-31
                                                   PATTIES BB 11/1/22 / AMARILLO
                      Lot/Batch No.                S1B011031300 17:06                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.9      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.62     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.23     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.16     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.76     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.43     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.46     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.27     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.73     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.90     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.68     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.95     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                1.00                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.92                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-32
                                                   PATTIES BB 11/6/22 / AMARILLO
                      Lot/Batch No.                S1B011031310 15:55                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.5      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.87     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.71     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   2.06     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.23     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.32     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.46     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.87     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.42     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.23     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.00     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.78     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.96     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.71     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.73     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.02     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                1.00                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.95                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-33
                                                   PATTIES BB 11/4/22 / AMARILLO
                      Lot/Batch No.                S1B011031308C 20:10                                           Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        18.2      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.83     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.64     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.94     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.20     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.76     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.46     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.32     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.73     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.90     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.68     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.68     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.96     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.96                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.88                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES BEEFY                        Lab Reference #          18059-40
                                                   PLANT BASED CRUMBLES BB 3/1/23 / AMARILLO
                      Lot/Batch No.                20220301E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        28.3      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.25     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.52     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.09     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.16     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.71     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.39     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.52     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.30     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.58     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.24     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.53     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.06     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.27     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.07     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.49     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.72                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.66                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES BEEFY                        Lab Reference #          18059-41
                                                   PLANT BASED CRUMBLES BB 2/9/22 / AMARILLO
                      Lot/Batch No.                20210209E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        31.2      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.46     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.95     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.98     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.35     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.83     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.61     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.92     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.47     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.36     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.83     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.79     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.23     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.30     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.24     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.71     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.74                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.68                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES BEEFY                        Lab Reference #          18059-42
                                                   PLANT BASED CRUMBLES BB 2/28/23 / AMARILLO
                      Lot/Batch No.                20220228E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        29.0      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.29     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.73     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.61     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.19     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   5.21     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.20     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.74     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.49     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.61     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.20     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.31     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.65     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.36     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.10     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.10     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.59     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.68                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.63                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-49
                                                   PATTIES BB 5/13/22 / BEAVERTON
                      Lot/Batch No.                S1B530031133 06:19                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.4      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.80     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.54     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.95     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.11     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.75     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.83     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.24     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.22     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.79     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.86     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.65     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.18     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.96     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.94                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.86                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-50
                                                   PATTIES BB 12/01/22 / BEAVERTON
                      Lot/Batch No.                01B011031335 08:59                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.6      %               May 11, 2022            As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.81     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.12     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.75     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.83     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.43     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.26     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.21     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.86     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.96     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.93                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.86                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
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                      Sample Description           BEYOND MEAT-BEYOND BURGER PLANT BASED                         Lab Reference #          18059-51
                                                   PATTIES BB 10/29/22 / BEAVERTON
                      Lot/Batch No.                S1B011031302 06:47                                            Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        17.2      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         0.83     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        1.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   1.97     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   3.16     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         0.76     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.41     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      0.85     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         1.47     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          1.25     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   0.95     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         0.82     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          0.88     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       0.67     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.19     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        0.68     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          0.98     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.93                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.86                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
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                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES BEEFY                        Lab Reference #          18059-58
                                                   PLANT BASED CRUMBLES BB 3/01/23 / BEAVERTON
                      Lot/Batch No.                20220301E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        28.1      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.24     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        2.58     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   3.33     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.19     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   4.85     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.13     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.73     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.44     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         2.56     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.16     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   1.60     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.29     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.43     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.00     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.07     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.50     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.66                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.61                     May 11, 2022            Calculated                     Calculated .




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Analytical Report
                     Goodman Food Products Terus                                                                                Lot ID:    18059
                     812 South 5th Ave                                                                               Date Received: Apr 20, 2022
                     Mansfield, TX, United States                                                                    Date Reported: May 20, 2022
                     76063                                                                                           Report Number: 67977
             Attn:   Accounts Payable


                      Sample Description           BEYOND MEAT-BEYOND BEEF CRUMBLES BEEFY                        Lab Reference #          18059-59
                                                   PLANT BASED CRUMBLES BB 11/8/22 / BEAVERTON
                      Lot/Batch No.                20211108E21                                                   Sample Temp.             0C
                      Sample Date                                                                                Sample Matrix            Food

Analyte                                                        Result     Units           Start Date              Descriptor                     Reference
Chemistry
 Protein                                                        27.3      %               May 4, 2022             As Received                    AOAC 990.03
Amino Acids
 Alanine                                                         1.63     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Arginine                                                        3.31     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Aspartic Acid                                                   4.62     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Cystine                                                         0.20     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Glutamic Acid                                                   6.63     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Glycine                                                         1.51     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Histidine                                                       0.93     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Isoleucine                                                      1.91     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Leucine                                                         3.36     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Lysine                                                          2.79     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Methionine                                                      0.30     %               Apr 28, 2022            As Received                    AOAC 994.12 (mod.)
 Phenylalanine                                                   2.08     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Proline                                                         1.66     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Serine                                                          1.95     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Threonine                                                       1.39     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Tryptophan                                                      0.28     %               Apr 28, 2022            As Received                    AOAC 988.15 (mod.)
 Tyrosine                                                        1.42     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
 Valine                                                          1.99     %               Apr 28, 2022            As Received                    AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                           0.92                     May 11, 2022            Calculated                     Calculated .
 Amino Acid Score                                                0.73                     May 11, 2022            Calculated                     Calculated .
 PDCAAS                                                          0.67                     May 11, 2022            Calculated                     Calculated .




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                                                                                     53 Page  ID24
                                                                                            Page #:52
                                                                                                   of 24
                                                                                                       12003 N.E. Ainsworth Circle,       F: +1 (503) 253-9019
                                                                                                       Portland, Oregon                   E: info.portland.parkrose@element.com
                                                                                                       97220, United States               W: www.element.com




Analytical Report
                       Goodman Food Products Terus                                                                                                         Lot ID:     18059
                       812 South 5th Ave                                                                                                      Date Received: Apr 20, 2022
                       Mansfield, TX, United States                                                                                           Date Reported: May 20, 2022
                       76063                                                                                                                  Report Number: 67977
              Attn:    Accounts Payable


                        Sample Description             BEYOND MEAT-BEYOND BEEF CRUMBLES BEEFY                                          Lab Reference #               18059-60
                                                       PLANT BASED CRUMBLES BB 5/5/22 / BEAVERTON
                        Lot/Batch No.                  20210505E21                                                                     Sample Temp.                  0C
                        Sample Date                                                                                                    Sample Matrix                 Food

Analyte                                                            Result                   Units               Start Date                Descriptor                         Reference
Chemistry
 Protein                                                            27.0                    %                   May 4, 2022               As Received                        AOAC 990.03
Amino Acids
 Alanine                                                              1.25                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Arginine                                                             2.50                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Aspartic Acid                                                        3.50                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Cystine                                                              0.20                  %                   Apr 28, 2022              As Received                        AOAC 994.12 (mod.)
 Glutamic Acid                                                        5.07                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Glycine                                                              1.15                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Histidine                                                            0.71                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Isoleucine                                                           1.45                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Leucine                                                              2.54                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Lysine                                                               2.14                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Methionine                                                           0.29                  %                   Apr 28, 2022              As Received                        AOAC 994.12 (mod.)
 Phenylalanine                                                        1.58                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Proline                                                              1.23                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Serine                                                               1.50                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Threonine                                                            1.05                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Tryptophan                                                           0.27                  %                   Apr 28, 2022              As Received                        AOAC 988.15 (mod.)
 Tyrosine                                                             1.07                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
 Valine                                                               1.53                  %                   Apr 28, 2022              As Received                        AOAC 982.30 (mod.)
PDCAAS Calculation
 Protein Digestibility                                                0.92                                      May 11, 2022              Calculated                         Calculated .
 Amino Acid Score                                                     0.72                                      May 11, 2022              Calculated                         Calculated .
 PDCAAS                                                               0.66                                      May 11, 2022              Calculated                         Calculated .



Report Comment(s):
 • 0.92 protein digestibility factor applied to all samples assuming pea protein concentrate contributes 100% of protein values. Actual percent contribution
   of protein sources is unknown.
 • Amino Acid Scan performed by a subcontracted laboratory.
 • Report re-generated to correct location from Los Angeles to Miami for samples 3, 4, 6, 27, 29, and 30.




Approved by:                                                                                                    Please direct any inquiries regarding this report to our Client Services group.
                  Chris Vallerga, B. Sc.                                                                                         Results relate only to samples as submitted.

                  Chemistry Supervisor                                                               The test report shall not be reproduced except in full, without the written approval of the laboratory.

                                             Data have been validated by Analytical Quality Control and Element’s Integrated Data Validation System (IDVS).
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Report Transmission Cover Page
                                                               Project ID:
          Bill To:   Goodman Food Products Terus                                                                             Lot ID: 18059
                     812 South 5th Ave                         Project Name:                                        Control Number:
                     Mansfield, TX, United States              Project Location:                                     Date Received: Apr 20, 2022
                     76063                                     LSD:                                                  Date Reported: May 20, 2022
         Attn:       Accounts Payable                          P.O.:                                                Report Number: 67977
   Sampled By:                                                 Proj. Acct. code:
     Company:


Contact                           Company                                          Address
Accounts Payable                  Goodman Food Products Terus Inc                  812 South 5th Ave
                                                                                   Mansfield, TX 76063
                                                                                   Phone: (817) 453-3180                         Fax:
                                                                                   Email: ap@donleefarms.com
Delivery                                           Format                                          Deliverables
Email - Single Report                              PDF                                             Invoice
Cassidy O'Sullivan                Goodman Food Products Terus Inc                  523 West 6th Street
                                                                                   Los Angeles, CA 90014
                                                                                   Phone: (213) 788-4589                         Fax:
                                                                                   Email: cosullivan@hueston.com
Delivery                                           Format                                          Deliverables
Email - Single Report                              PDF                                             Test Report
Joshua Yim                        Goodman Food Products Terus Inc                  523 West 6th Street
                                                                                   Los Angeles, CA 90014
                                                                                   Phone: (213) 788-4589                         Fax:
                                                                                   Email: jyim@hueston.com
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Email - Single Report                              PDF                                             Test Report
Michael Todisco                   Goodman Food Products Terus Inc                  523 West 6th Street
                                                                                   Los Angeles, CA 90014
                                                                                   Phone: (213) 788-4589                         Fax:
                                                                                   Email: mtodisco@hueston.com
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